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1 UNITED STATES DISTRICT GURT I: EE Ty REGED tet on Thursday, the ih cay oF
2 ORTEGA 2 iune. 2016 at 9713.a.m., at the offices of DR, 2908 Bast
3 3 57th Street, Suite 101, Siox Falls, South Dalota, before
4 SRK RRA WAR STEN, INC, B 4 STERENIE L. MOEN, RPR, a Freslance Court Reporter are
5 : i ae 7 5 fotary Rblic in and for the state of south elota, qmaarei
6 ws : } No. 1:15-cv-0103-K-—s |S DARIN SCRIBER, the witness herein:
Z 3 ae ae a
7: cay oF “i 3 7 _ WEREPOQN, ‘the Tol loving procestirss vere ted,
8 Puma f oN AIR 2 8 wait:
3 4 bora Veteran } 3 we RES
0 Defendants. ) 10 (hibit io. 4 marked for iémtifictio. i. theme js
TL < T Tot now present.) ; ;
R — 2 ORIN SORTER gilled.as a yiiress, teving
B “APPEARANCES: 13 tscinel as Mors:
14 14 EXAMINSTION BY MR. HIER:
2 Plaintiff: JEFFREY A. Sa ee
5 Rees ae tay 15 Q Ganyou State your rem, please.
16 Sigux Falls, SD a 16 A Darin Schrieer.
7 For the Defexént: JAK He. HIER a? Q Darin, ny ree is Jack Hieb, avd as. I indicted off the
18 anne: om 5 Sets 18 record, I represent waterto;n Municipal utilities. Have you
19 Aterdosn, $0" 57402-2030 19 ever bed your cemosition taken prior to toby?
2D For the Witness:, Seu 20 A Yes.
21 EOS oom 21 Q On hovmeny oxasios? se
2 a : 2 A Om.
2 RERE: PESIH TREMESGN 2 Q Allright. was that involving Titigation thet related to -
24 ae sie, hive 24 was that as an epert.or as a = as a fact witness, or ch you
2 25 know?
Stephanie Moen & Assoc. (605) 995-0955 1 ra Stephanie Moen & Assoc. {605} 935-9555 3
TNOEX SCRIEVRR BY HIEB
INDEX OF: EXAMINATIONS A Lcdn't ko.
NYE PG:LN Q Wo vas imolved in te litigation’
By. Mr. Hieb 34 A Tt yes'a contractor versus a utility ower, and ve vere:
Q SoDRvasn't.a party to-the: Tasuit.
A Nb.
INDEX OF BHIBITS Q Aaople of things Lvant to Give you, a caple of grord
ND. DESCRIPTION FG IN mules: I vent. t0.give you before we-get started. I'm going
4 DR Report: 514 to ask you verbal questions; I'Tl need verbal responses. we:

often comuricate with nods. oF the: head, and while that
works in a conversation betiesn iis, it makes it-diffiaiit
“for the court: reporter to take it down, ‘day?

A Yep.

Q ATI Fight. Second, if you cn weit for ne to finish asking
my Gestion, I°T] try tovait for you to finish giving ycur
ansver.. That way ve are not talking at the sare time. 4s
you cen imagine, itis very.diffiailt for her to take down
two. voices at the sane tine, day?

A day.

Q Finally, if I ask you a question: you con't undkdrstand or if
T use.sore word that cbesn't feke-ary Seiise to you ‘in the
‘context in which Tuse it, just don't answer the question;
tell me “I con't undersiand;" I'Tl be heppy to. rephrase it,

PRONN SE BERRORUREBoaonanauwpe
TRH RRO ERURE EER BPEGaw«wpunhu nn

 

 
 
 

 

 

 

 

  

Stephanie Moen s Assoc. (605) 995-0955 2 Assoc. (605) 595-0555

 
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WR. TLE: Coject im fom.

(Gy Wr. HIG) DO you ucersiend eter use itr fire

seprtsstiny ik iosee?
Yes.
AIT right. So uderstending that, cbSs your modsHing Yector
tn the potential need for thet?
kell, T believe cur repori'yss Clear in te - in stating
teat Sioux coss mot provide fire protection in their water
sevice.
Right, that cbesn‘t ensver my Gestion. Ard the one thing
IT tel] you is: T've read your resort aner in quer.
Your report isn't testinpny, so when I'm asking you these
qusstios, Tt's rot that I'm trying i be nes or tat r
haven't taken the treble to. read it; I read testitmry fron
you.

E realize that. they don’t provide fire:-protectin, but
as part of the arallysis that you'ré doing for ‘then, you're
being‘asked ‘to detennine: can they Sigply the water neads of
these potential nev Gstoers, correct?

\. Correct.

And the vater neads,.as that tern is d&Finad I'm assuiting,,
ces :not include Fire protection, right?

That's correct.

SO you're talking anily about domestic water supply-for

 

GRBONRSECREHERE EDK RE Bean aapwn i

SGRIBRR BY HIER

treat they wuld serve mr athtitiasl 30m 35 asimners jn
That wes based unon several factors: their irene
GECity, thsir stores? cnecity,, the deers of the
Anything élse?
hot. det T reel.
AT] right. So when you state - whan you statel eeriier that
you balieve they have the distribution epcity to sche
‘those potential nav asters Tisted on tie first pene of
‘the map that's part of Appendix & to Batibit 4, that means
‘they have big erough pipes that they could deliver véter tp
those customers ecoately, Gorract?
it's a aubination of piping end pnping facilities,
Big qougn pipes, enoigh store, and exach paping
All right: what, evidently, they’re stort-on, ‘in-ofte to
serve all Of those astmers' ‘needs based upon your data, is

MR, GLE: Object to form.

You can go ahead dnd ansrer.

To'serve.more than the 30 to 35 acditionl users, we beHeve
‘that ‘Sioux needs additional source capacity which means

 

 

 

Stephanie Ncen s Assoc: (605) 995-0555 35 Stephonic Moen & Assoc. {€0S) 995-0555 WT
CO)
SORIA BY HIEB SGHRIEVER BY HIER
Consumption or other.related uses‘on a monthly. basis. wells. and treatment capacity.

 

GRBUNNBSERHREEE RR Bo aWVauwawne

That's right.

I think T:asked you this before, but you've circled these
areas on Sheets 1 and 10 of Appenttix € that identify the
areas ‘you were asked to. study, and they show with gray dots
the existing customers of Sioux. And ‘then you vere provided
a. Tist of potential nev astoners for Sioux that's shown in
‘thé mend héfe on the first page of Appendix E, right?
Right.

What vas your ultimate conclusioni about: Siout's ability to
adeqiate ly: supply the water neads of the astorers Tisted on
the first pace of the mam that's part of émpendix £2

Fron a distribution standpoint, Sioux has the ability to
Okay. And froma capacity standpoint - vould that be the
other ‘term to use or would there: be a better temi?

Fran @. Source cepacity: standpoint?

Sure, I'Tl use your term "source cpecity starcbsint." Do
they have the ability to serve those astnrers?

Qur conclusion was that they could serve up to 30 to 35
acttitioral customers in those areas.

And you reached that. conclusion by Tooking at their airrent
4nd how was it that you were able to: conclude-fron that cata

 

GEORRSERERERPRRE RRB oavnauaune

(© Wr. Hied) Ard in Tayren's tems, they dm't have erouh

water to serve all of the axstorers Tisted on the first page

of meno - of the mam ‘that's part of Apdantix &.
WR. QUE: Object to-form,
G abead'and answer.
we believe they currently don"t have atkyate facilities jin
Place to serve all of those astorers.
(8y- MF, Hicb) Gay. And when you say they con't have
adequate facilities, they can't. treat enough vater atthe
‘treatment plant that votild provide water to the custorers
Tisted -in this mano under current conditions:
WR. QE: Object-to form.
You ‘can: go ahead and answer.
‘You guys are.confusing me.

_ @y Mr. Hieb), And-T don't want to-confise you, so tel] me

what - I'm trying to - I'm trying to neke sure Hatt
understand what: your testiftory ‘is,. and. think I do, But —
BR. COLE? Exasesme. Darin, I'm just objecting
the form of the question; that's all. That's al] I'm doing.
So you can.gp ahead and answer those alestions,. and I
apologize if my objections have! distracted you fron what the
questions. were, both to counsel and yourself: :
So to serve all of the custaiers Tisted on the first page of
the mem, = .

 

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WATERTOWN SERVICE AREA REPORT

PREPARED FOR

SIOUX RURAL WATER SYSTEM

February 2016

    

Stephanie tL, Moen
Ex. INo- 2 Zale

DGR Project No. 802810

 
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therefore, the lowest residual pressures expected during a peak water usage period. The results are
identified as instantaneous peak demand flows and residual pressures. The instantaneous peal
demand low pressures are theoretical only and may have never been experienced by any customer.

The software can also be used to calculate the estimated average pressures and flows for a peak
day situation. These results are identified as residual pressures and flows for a 20 hour period. In
addition to providing the calculated average residual pressures and flows for the distribution
system, the average 20 hour period is also useful in estimating the effects upon tank levels and
pumping capabilities. A 20 hour period (as opposed to a 24 hour period) is used to provide some
margin for the possibility of peak day demands being higher than projected.

The hydraulic model was updated for Sioux Rural Water in early 2013 as part of the PER
agreement, and the model is based upon water use in the year 2012. 2012 was notably the highest
recent usage period for many systems in the region, including Sioux Rural Water. 2012 had high
peak day usage and high sales volumes for the year. When performing hydraulic modeling for
tural water systems, the factors included in the method of calculating the instantaneous peak
demands are as important as the actual water use assigned to customers. The factors are based
upon actual usage pattems of the water system and also upon long-term experience in modeling
rural water systems.

WATERTOWN AREA REVIEW

A hydraulic modeling effort was performed in order to review the condition of the existing
distribution system and the effect of the proposed improvements, as well as the effect upon the
system with additional customers added. Two areas were reviewed specifically. The first area is
generally described as the “West Side” and is the area between Lake Kampeska and Pelican Lake
in Lake Township and Pelican Township. The second area considered is immediately east of
Interstate 29, generally along Highway 212, or more generally described as the “East Side”. The
results of the modeling effort are summarized in a memo dated January 25, 2016 and is included
in Appendix E.

When considering additional customers in these areas for hydraulic modeling purposes, it was
assumed that the annual average monthly water use for additional customers would be 5,500
gallons per month. This is considered a very conservative approach as the actual annual average
of equivalent customers in the area is 4,700 gallons per month for year 2012. For revenue
projection purposes, it would be conservative to use a number less than 4,700 gallons per month
because 2012 was a high sales year (about 14% higher than adjoining years). It is recommended
that 4,100 gallons per month be used for an annual average for revenue projection purposes.

West Side Review
Sheets 1-3 of the memo show the existing system under instantaneous peak demand
conditions. The results indicate that there can be low residual pressures experienced in the

area. This is one of the primary reasons why the system intends to make improvements to
the area with the proposed eight miles of 8” pipeline as previously discussed.

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Sheeis 4-6 display the anticipated residual pressures and flows under instantaneous peak
demand conditions after the proposed improvements project is complete. This
demonstrates that the improvements project wil! be effective in providing additional
residual pressure to the area.

Sheets 7-9 indicate the residual pressures and flows for instantaneous peak demand
conditions after several additional customers are added in the area and two additional minor
water main improvements are complete. The additional water customers are listed on the
first page of the memo in Appendix E, and they generally include the Pelican View Estates,
Kaks Addition and a few smali businesses in the area. The modeling results indicate that
with the additional customers added to the system, acceptable residual pressures and flows
can be provided to the area.

For each of the three scenarios presented above, the average 20 hour pressures and flows
were also calculated. These results are displayed on Sheets 18-26 and indicate that the
system has adequate pumping and distribution capacity to meet peak day demands of
existing and additional customers.

East Side Review

The hydraulics memo addresses the distribution area on the east side of Watertown
beginning with Sheet 10. Sheets 10 and 11 show the instantaneous peak demand conditions
and the resulting pressures and flows for the existing system before the improvements
project is completed.

Sheets 12 and 13 show the instantaneous peak demand conditions with additional
customers added in the area before the improvements project is complete. The additional
customers on the east side of Watertown are listed on Page 1 of the memo and generally
include several small businesses in the area. The modeling results indicate that the
identified additional customers can be adequately served by the existing water system.

Sheets 14 and 15 show the instantaneous peak demand conditions for the existing system
with the proposed improvements project completed.

Sheets 16 and 17 show the instantaneous peak demand results with the new customers
added, with minor improvements and the proposed improvements project is complete.
Again, the results indicate-that the additional customers can be added to the system while
providing adequate pressures and flows to the system.

The average flows and pressures for a 20 hour period for the east side of Watertown are
shown on Sheets 27-34. The results indicate that the system has adequate pumping and
distribution capacity to meet peak day demands of existing and additional customers.

Generally speaking, the Sioux Rural Water distribution system can easily accommodate

additional customers on the east side because of the previous investment made in several
miles of 6-inch pipe along the east side of Interstate 90.

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SIOUX WATER TREATMENT PLANT REVIEW

Sioux Rural Water System operates two water treatment plants. The south water treatment plant
is called the Castlewood Water Treatment Plant and generally serves the southern and western
parts of the system. The north water treatment plant is called the Sioux Water Treatment Plant
and it generally serves the northern and northeastern paris of the system.

When considering the production needs of the Sioux Water Treatment Plant, more recent data was
considered than that which was available at the time the original PER was completed. The PER
generally contained data from 2009 to mid-2012. More recent data includes data through
September 2015. Significant effort has been made over the last couple of years to control water
loss, which has resulted in more water being available for delivery. Peak usage days in the spring
of 2014 were similar to the peak usage days in 2012; however, the 3-day and 5-day moving
averages were higher in the spring of 2014 than they were in 2012. Therefore the spring of 2014
data was used in reviewing the Sioux Water Treatment Plant capacity.

The Sioux Water Treatment Plant serves the area surrounding Watertown. The water treatment
plant consists of granular media filters for iron and manganese reduction. The hydraulic capacity
of the water treatment plant is 600 gallons per minute (gpm). The current raw water quality and
the current effectiveness of the treatment process limit the plant capacity. The plant can produce
400 gpm with consistent good finished water quality. The plant can be operated at 450 gpm with

only slight increases in finished water manganese levels. The effects of higher manganese levels
are aesthetic only and are generally not problematic during high usage periods. Operated at 450
gpm over a 22 hour period, the daily treatment capacity of the Sioux Water Treatment Plant is
594,000 gallons per day. A 20 to 22 hour day is commonly used when evaluating water treatment
plant capacity; this allows two to four hours per day to backwash filters and provide miscellaneous
maintenance as required.

Design guidelines recommend that a water system provide finished water storage equal to or
greater than an average day water demand. Recent average day demands from the Sioux WTP
have been approximately 350,000 gallons per day. Total storage in the Sioux WTP service area,
including reservoirs at the WIP and water towers in the distribution system, is 468,000 gallons.
This exceeds the recommended amount and allows Sioux Rural Water to meet daily fluctuations
in water demands and to meet multi-day high demand periods.

The 176 additional customers previously discussed in the hydraulic modeling effort represent an
added water demand of approximately 32,500 gallons on an average day and approximately 93,000
gallons on a peak day. Given the current treatment capacity of 450 gpm, and given the available
system storage, approximately 30-35 additional customers of the type described could be added to
the system without exceeding source capacity. In order for more than 30-35 customers to be added,
the source capacity would need to be increased.

Four primary alternatives can be considered for expanding source capacity for Sioux Rural Water:
optimize and improve existing facilities, finding locations for wells with better water quality,
adding filters and obtaining water supply from other entities. Each is discussed in more detail
below.

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